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                                   4                                 UNITED STATES DISTRICT COURT

                                   5                                NORTHERN DISTRICT OF CALIFORNIA

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                                   7    MARK GONZALEZ,                                    Case No. 20-cv-07874-JST
                                                       Plaintiff,
                                   8
                                                                                          ORDER LIFTING STAY AND SETTING
                                                v.                                        CASE MANAGEMENT CONFERENCE
                                   9

                                  10    FRESH MINT, LLC,
                                                       Defendant.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13          The Court stayed this case on February 2, 2021. ECF No. 16. Because the litigation that

                                  14   prompted the Court’s stay order has concluded, the stay is now lifted.

                                  15          The Court sets a further case management conference on September 2, 2021 at 9:30 a.m.

                                  16   An updated joint case management statement is due on August 26, 2021.

                                  17          IT IS SO ORDERED.

                                  18   Dated: July 14, 2021
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                                                                                                     JON S. TIGAR
                                  20                                                           United States District Judge

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